     Case 6:21-cv-00016 Document 246 Filed on 06/14/22 in TXSD Page 1 of 3




                       UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             VICTORIA DIVISION
       __________________________________________
                                                 )
       STATE OF TEXAS, STATE OF                  )
       LOUISIANA                                 )
                                                 )
                               Plaintiffs,       )
             v.                                  ) No. 6:21-cv-00016
                                                 )
       UNITED STATES OF AMERICA, et al.          )
                                                 )
                               Defendants.       )
       __________________________________________)

          DEFENDANTS’ REPLY TO PLAINTIFFS’ OPPOSITION TO A STAY
       The States’ opposition to Defendants’ stay request has two significant omissions. First, the

States do not engage with the Supreme Court’s analysis in Aleman Gonzalez, No. 20-322, 596 U.S.

-- (2022), and instead rely on authority that predates that decision. Aleman Gonzalez is an

intervening decision that postdates this Court’s judgment. The Court should at least stay its Order

until it has a chance to analyze Aleman Gonzalez and the forthcoming MPP decision. Second, the

States do not mention the declaration of Daniel Bible that Defendants submitted yesterday. This

omission demonstrates that Plaintiffs have no material response to Defendants’ showing that

balancing of the equities here strongly favors a stay.

       Defendants ask this Court to grant a stay or, in the alternative, extend the administrative

stay for consideration of the stay motion, including the Bible declaration and the Supreme Court’s

decisions in Aleman Gonzalez and MPP. Should this Court deny both today, Defendants ask that

this Court, at the least, continue the administrative stay through June 21, 2022, to give more time

for the appellate process.




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    Case 6:21-cv-00016 Document 246 Filed on 06/14/22 in TXSD Page 2 of 3




Dated: June 14, 2022               Respectfully submitted,

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                                         2
     Case 6:21-cv-00016 Document 246 Filed on 06/14/22 in TXSD Page 3 of 3




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                            CERTIFICATE OF COMPLIANCE

       I certify that the total number of words in this motion, exclusive of the matters designated

for omission, is 176, as counted by Microsoft Word.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




                                CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on June 14, 2022.


                                             /s/ Adam D. Kirschner
                                             ADAM D. KIRSCHNER




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